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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

             In re:
                                                                              Chapter 11
                                                               1
             Prime Core Technologies Inc., et al.,
                                                                              Case No. 23-11161 (JKS)
                                                               Debtors.
                                                                              (Jointly Administered)


                                                             AFFIDAVIT OF SERVICE

                   I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
            noticing agent for the Debtors in the above-captioned cases.

                   On October 25, 2023, at my direction and under my supervision, employees of Stretto
            caused the following documents to be served via first-class mail on the service list attached hereto
            as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                      Notice of Witness’s Voluntary Agreement to Comply With the Debtors’ Rule 2004 of
                       the Federal Rules of Bankruptcy Procedure Discovery Requests (Docket No. 341)

                      Notice of Witness’s Voluntary Agreement to Comply With the Debtors’ Rule 2004 of
                       the Federal Rules of Bankruptcy Procedure Discovery Requests and Examination
                       (Docket No. 343)

                      Notice of Witness’s Voluntary Agreement to Comply With the Debtors’ Rule 2004 of
                       the Federal Rules of Bankruptcy Procedure Discovery Requests and Examination
                       (Docket No. 345)

                    In addition to the methods of service set forth herein, parties who have requested electronic
            notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
            documents via electronic service.


            Dated: October 30, 2023                                                    _____________________________
                                                                                              Andrew K. Fitzpatrick
            State of Colorado                )
                                             ) SS.
            County of Denver                 )

            Subscribed and sworn before me this 30th day of October 2023 by Andrew K. Fitzpatrick.


            _____________________________
               (Notary’s official signature)
            ______________________________________________
            1
              The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
            are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
            (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
Document Ref: PARIQ-A26XX-N33YS-LQ9ZQ                                                                                                     Page 1 of 7
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                                                 Exhibit A




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                                                                                         Exhibit A
                                                                                   Served via First-Class Mail


                              Name                                   Attention                    Address 1                          Address 2                   City     State     Zip     Country
 Internal Revenue Service                                                         PO Box 7346                                                             Philadelphia   PA     19101-7346
 Office of the Attorney General for the District of Columbia                      441 4Th St Nw, Ste 1100S                                                Washington     DC     20001
 Office of the Attorney General for the District of Puerto Rico                   350 Carlos Chardón Street                Torre Chardón, Suite 1201      San Juan       PR     00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                          501 Washington Ave                                                      Montgomery AL         36104
 Office of the Attorney General for the State of Alaska                           1031 W 4th Ave, Ste 200                                                 Anchorage      AK     99501
 Office of the Attorney General for the State of Arizona                          2005 N Central Ave                                                      Phoenix        AZ     85004
 Office of the Attorney General for the State of Arkansas                         323 Center St, Ste 200                                                  Little Rock    AR     72201
 Office of the Attorney General for the State of California                       PO Box 944255                                                           Sacramento     CA     94244-2550
 Office of the Attorney General for the State of Colorado                         Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl         Denver         CO     80203
 Office of the Attorney General for the State of Connecticut                      165 Capitol Ave                                                         Hartford       CT     06106
 Office of the Attorney General for the State of Florida                          The Capitol Pl-01                                                       Tallahassee    FL     32399
 Office of the Attorney General for the State of Georgia                          40 Capitol Sq Sw                                                        Atlanta        GA     30334
 Office of the Attorney General for the State of Hawaii                           425 Queen Street                                                        Honolulu       HI     96813
 Office of the Attorney General for the State of Idaho                            700 W. Jefferson St, Suite 210                                          Boise          ID     83720
 Office of the Attorney General for the State of Illinois                         James R. Thompson Center                 100 W. Randolph St             Chicago        IL     62706
 Office of the Attorney General for the State of Indiana                          Indiana Government Center South          302 W Washington St 5Th Fl     Indianapolis   IN     46204
 Office of the Attorney General for the State of Iowa                             Hoover State Office Building             1305 E. Walnut Street Rm 109   Des Moines     IA     50319
 Office of the Attorney General for the State of Kansas                           120 SW 10Th Ave, 2nd Fl                                                 Topeka         KS     66612
 Office of the Attorney General for the State of Kentucky                         Capitol Building                         700 Capitol Ave Ste 118        Frankfort      KY     40601
 Office of the Attorney General for the State of Louisiana                        1885 N. Third St                                                        Baton Rouge LA        70802
 Office of the Attorney General for the State of Maine                            6 State House Station                                                   Augusta        ME     04333
 Office of the Attorney General for the State of Maryland                         200 St. Paul Pl                                                         Baltimore      MD     21202
 Office of the Attorney General for the State of Massachusetts                    1 Ashburton Place, 20Th Floor                                           Boston         MA     02108
 Office of the Attorney General for the State of Michigan                         G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                Lansing        MI     48909
 Office of the Attorney General for the State of Minnesota                        445 Minnesota St, Ste 1400                                              St. Paul       MN     55101
 Office of the Attorney General for the State of Mississippi                      Walter Sillers Building                  550 High St Ste 1200           Jackson        MS     39201
 Office of the Attorney General for the State of Missouri                         Supreme Court Building                   207 W High St                  Jefferson City MO 65101
 Office of the Attorney General for the State of Montana                          215 N. Sanders                           Justice Building, Third Fl     Helena         MT     59601
 Office of the Attorney General for the State of Nebraska                         2115 State Capitol                                                      Lincoln        NE     68509
 Office of the Attorney General for the State of Nevada                           Old Supreme Court Building               100 N Carson St                Carson City    NV     89701
 Office of the Attorney General for the State of New Hampshire                    Nh Department Of Justice                 33 Capitol St.                 Concord        NH     03301
 Office of the Attorney General for the State of New Jersey                       Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing Trenton        NJ     08611
 Office of the Attorney General for the State of New Mexico                       408 Galisteo Street                      Villagra Building              Santa Fe       NM     87501
 Office of the Attorney General for the State of New York                         The Capitol                              2nd Floor                      Albany         NY     12224
 Office of the Attorney General for the State of North Carolina                   114 W Edenton St                                                        Raleigh        NC     27603
 Office of the Attorney General for the State of North Dakota                     State Capitol, 600 E Boulevard Ave       Dept. 125                      Bismarck       ND     58505
 Office of the Attorney General for the State of Ohio                             State Office Tower                       30 E Broad St 14Th Fl          Columbus       OH     43215
 Office of the Attorney General for the State of Oklahoma                         313 Ne 21St St                                                          Oklahoma City OK      73105
 Office of the Attorney General for the State of Oregon                           1162 Court St NE                                                        Salem          OR     97301
 Office of the Attorney General for the State of Pennsylvania                     Strawberry Square 16Th Fl                                               Harrisburg     PA     17120
 Office of the Attorney General for the State of Rhode Island                     150 S Main St                                                           Providence     RI     02903
 Office of the Attorney General for the State of South Carolina                   Rembert C. Dennis Bldg                   1000 Assembly St Rm 519        Columbia       SC     29201
 Office of the Attorney General for the State of South Dakota                     1302 E Highway 14, Ste 1                                                Pierre         SD     57501
 Office of the Attorney General for the State of Tennessee                        301 6Th Ave N                                                           Nashville      TN     37243
 Office of the Attorney General for the State of Texas                            300 W. 15Th St                                                          Austin         TX     78701
 Office of the Attorney General for the State of Utah                             Utah State Capitol Complex               350 North State St Ste 230     Salt Lake City UT     84114
 Office of the Attorney General for the State of Vermont                          109 State St.                                                           Montpelier     VT     05609
 Office of the Attorney General for the State of Virginia                         202 N. Ninth St.                                                        Richmond       VA     23219

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                                                                                                      Exhibit A
                                                                                                Served via First-Class Mail


                              Name                                         Attention                           Address 1                        Address 2                City    State     Zip        Country
 Office of the Attorney General for the State of Washington                                    1125 Washington St Se                                                Olympia      WA 98501
 Office of the Attorney General for the State of Washington                                    PO Box 40100                                                         Olympia      WA 98504
 Office of the Attorney General for the State of West Virginia                                 State Capitol, 1900 Kanawha Blvd E     Building 1 Rm E-26            Charleston   WV 25305
 Office of the Attorney General for the State of Wisconsin                                     17 West Main Street, Room 114 East P                                 Madison      WI    53702
 Office of the Attorney General for the State of Wyoming                                       Kendrick Building                      2320 Capitol Ave              Cheyenne     WY 82002
 Office of The U.S. Trustee for the District of Delaware          Attn: Linda Casey, Esq.      844 N King St #2207                    Lockbox 35                    Wilmington   DE    19801
                                                                  Attn: Andrew Calamari,       New York Regional Office, Brookfield
 Securities And Exchange Commission                               Regional Director            Place                                  200 Vesey Street, Suite 400   New York     NY    10281-1022
 Securities And Exchange Commission                               Attn: Lara Shalov Mehraban   100 Pearl St                           Suite 20-100                  New York     NY    10004-2616
                                                                  Attn: Secretary of The
 Securities And Exchange Commission                               Treasury                     100 F Street, NE                                                     Washington   DC    20549
 US Attorney’s Office for the District of Delaware                                             1313 N Market Street                                                 Wilmington   DE    19801




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                                                 Exhibit B




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                                                                                   Exhibit B
                                                                             Served via Electronic Mail

                                 Name                                           Attention 1                     Attention 2                              Email
                                                                   c/o Pashman Stein Walder Hayden, Attn: John W. Weiss, William R.     jweiss@pashmanstein.com
  Allegheny Casualty Company                                       P.C.                             Firth, III                          wfirth@pashmanstein.com
  Allsectech, Inc.                                                 Attn: Aviral Dhirendra                                               aviral198828@gmail.com
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  AnchorCoin LLC                                                   Sanders LLP                      Smith                               marcy.smith@troutman.com
  Austin Ward                                                                                                                           austindward@proton.me
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  Coinbits, Inc.                                                   Lewis LPA                        Attn: David M Newumann              dneumann@meyersroman.com
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  Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Quinn Emanuel Urquhart &           Alain Jaquet & Razmig Izakelian & razmigizakelian@quinnemanuel.com
  Ltd., and Bittrex Malta Ltd.                                     Sullivan, LLP                          Joanna Caytas                      joannacaytas@quinnemanuel.com
  Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Young Conaway Stargatt &           Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
  Ltd., and Bittrex Malta Ltd.                                     Taylor, LLP                            Enos                               kenos@ycst.com
  DMG Blockchain Solutions, Inc.                                   Attn: Steven Eliscu                                                       steve@dmgblockchain.com
                                                                   c/o Gellert Scali Busenkell &
  Kado Software, Inc.                                              Brown, LLC                             Attn: Michael Van Gorder         mvangorder@gsbblaw.com
  Kado Software, Inc.                                              c/o Raines Feldman Littrell LLP        Attn: David S. Forsh             dforsh@raineslaw.com
  Net Cents Technology, Inc.                                       Attn: Clayton Moore                                                     claytonmoore@net-cents.com
  Office of the Attorney General for the District of Columbia                                                                              oag@dc.gov
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  Office of the Attorney General for the State of Alaska                                                                                   attorney.general@alaska.gov
  Office of the Attorney General for the State of Arizona                                                                                  BCEIntake@azag.gov
  Office of the Attorney General for the State of California                                                                               xavier.becerra@doj.ca.gov
  Office of the Attorney General for the State of Colorado                                                                                 DOR_TAC_Bankruptcy@state.co.us
  Office of the Attorney General for the State of Connecticut                                                                              attorney.general@ct.gov
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  Office of the Attorney General for the State of Illinois                                                                                 michelle@lisamadigan.org
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  Office of the Attorney General for the State of Michigan                                                                                 miag@michigan.gov
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  Office of the Attorney General for the State of North Dakota                                                                             ndag@nd.gov
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                                                                                 Exhibit B
                                                                           Served via Electronic Mail

                                Name                                         Attention 1                            Attention 2                             Email
  Office of the Attorney General for the State of Oklahoma                                                                                   questions@oag.ok.gov
  Office of the Attorney General for the State of Utah                                                                                       uag@utah.gov
  Office of the Attorney General for the State of Vermont                                                                                    ago.info@vermont.gov
  Office of the Attorney General for the State of West Virginia                                                                              consumer@wvago.gov
                                                                                                                                             rstark@brownrudnick.com
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  Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP                 Jennifer M. Schein                   jschein@brownrudnick.com
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  Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP                 A. Sawyer                            msawyer@brownrudnick.com
                                                                  c/o Womble Bond Dickinson (US)        Attn: Donald J. Detweiler & Elazar   don.detweiler@wbd-us.com
  Official Committee of Unsecured Creditors                       LLP                                   A. Kosman                            elazar.kosman@wbd-us.com
  OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP                  Attn: Sommer L. Ross                 slross@duanemorris.com
                                                                  c/o Buchalter, A Professional
  Oracle America, Inc.                                            Corporation                           Attn: Shawn M. Christianson          schristianson@buchalter.com
                                                                  c/o McElroy, Deutsch, Mulvaney &
  Philadelphia Indemnity Insurance Company                        Carpenter, LLP                        Attn: Gary D. Bressler               gbressler@mdmc-law.com
  Polaris Ventures                                                Attn: Ruairi Donnelly                                                      ruairi.donnelly@polaris-ventures.org
                                                                  c/o Mintz, Levin, Cohn, Ferris,
  Polaris Ventures                                                Glovsky and Popeo, P.C.               Attn: Abigail O’Brient               aobrient@mintz.com
                                                                  c/o Mintz, Levin, Cohn, Ferris,
  Polaris Ventures                                                Glovsky and Popeo, P.C.               Attn: Joseph R. Dunn              jrdunn@mintz.com
                                                                  c/o Young Conaway Stargatt &          Attn: Michael R. Nestor & Ryan M. mnestor@ycst.com
  Polaris Ventures                                                Taylor, LLP                           Bartley                           rbartley@ycst.com
  Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                              nyrobankruptcy@sec.gov
  Stably Corporation                                              Attn: Ivan Inchauste                                                    ivan@stably.io
                                                                                                                                          JWilliamson@gravislaw.com
  Stably Corporation                                              c/o Gravis Law, PLLC                  Attn: Jill Williamson             MPyfrom@gravislaw.com
                                                                                                                                             JOLeary@gravislaw.com
                                                                                                                                             DCannon@gravislaw.com
                                                                                                                                             MHess@gravislaw.com
  Stably Corporation                                              c/o Gravis Law, PLLC                  Attn: John W. O'Leary                HHarden@gravislaw.com
  Thomas Pageler                                                  c/o Clark Hill PLC                    Attn: Karen M. Grivner               kgrivner@clarkhill.com
                                                                                                        Attn: Tobias S. Keller & Traci L.    tkeller@kbkllp.com
  Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP         Shafroth                             tshafroth@kbkllp.com
                                                                  c/o Pashman Stein Walder Hayden
  Tiki Labs, Inc. dba Audius Inc.                                 PC                              Attn: John W. Weiss                        jweiss@pashmanstein.com
  US Attorney’s Office for the District of Delaware                                                                                          usade.press@usdoj.gov
  Yousef Abbasi                                                                                                                              Yousef.a.abbasi@gmail.com

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